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    12
                             UNITED STATES DISTRICT COURT
    13
                           CENTRAL DISTRICT OF CALIFORNIA
    14

    15

    16 IN RE: NATIONAL FOOTBALL                     Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
    17 ANTITRUST LITIGATION,
                                                    DISCOVERY MATTER
    18   _______________________________
                                                    JOINT STATUS REPORT ON THE
    19   THIS DOCUMENT RELATES TO:                  NFL DEFENDANTS’ MOTION TO
         ALL ACTIONS.                               COMPEL COMMERCIAL
    20                                              PLAINTIFFS TO RESPOND TO
                                                    INTERROGATORY NO. 10
    21

    22

    23                                              Magistrate Judge: Hon. John E.
                                                    McDermott
    24

    25                                              Discovery Cutoff Date: 8/5/2022
                                                    Pretrial Conference Date: 2/9/2024
    26                                              Trial Date: 2/22/2024
    27

    28

             JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
                                  PLAINTIFFS TO RESPOND TO INTERROGATORY NO. 10
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     1         Pursuant to the Court’s May 9, 2022, Order regarding the NFL Defendants’
     2   Motion to Compel Commercial Plaintiffs to Respond to Interrogatory No. 10
     3   (“Order”) (ECF No. 472), Plaintiffs and the NFL Defendants respectfully submit this
     4   Joint Status Report (the “Report”).
     5   I.    BRIEF SUMMARY OF THE ISSUE
     6         On April 26, 2022, the parties filed a Joint Stipulation Regarding the NFL
     7   Defendants’ Motion to Compel Commercial Plaintiffs to Respond to Interrogatory
     8   No. 10 (“Joint Stipulation”) (ECF No. 462), in which the NFL Defendants sought an
     9   order compelling Commercial Plaintiffs to respond to an Interrogatory that asked the
    10   Commercial Plaintiffs to “[i]dentify the approximate amount of revenue generated
    11   on each day of the week and identify the day of the week that your establishment
    12   generated the most revenue.”
    13         On May 9, 2022, the Court issued an Order determining that it “will consider
    14   discoverability of the downstream data sought by Interrogatory No. 10 if the burden
    15   is not undue,” Order at 2, and ordering the parties to “meet and confer on what, if
    16   any, revenue data exists and whether it can be feasibly produced.” Id. at 3. The
    17   parties were ordered to submit a Joint Status Report on or before May 17, 2022. Id.
    18   The parties met and conferred on May 13, 2022, but no consensus or agreement was
    19   reached.
    20         A.    Commercial Plaintiffs’ Position
    21         In its May 9, 2022 order, the Court required the parties to meet and confer on
    22   the burden associated with responding to the NFL Defendants’ Interrogatory No. 10
    23   and instructed the parties to submit a joint status report by May 17, 2022 (if the
    24   parties could not resolve the dispute) on “what, if any revenue data exists” in
    25   Commercial Plaintiffs’ custody, control, or possession that could answer the
    26   interrogatory and whether Commercial Plaintiffs can feasibly produce it.
    27         Mindful of the Court’s order, Plaintiffs re-confirmed that both Commercial
    28   Plaintiffs have no data or documents in their possession, custody, or control that
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
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     1   record revenues on a daily basis during the relevant period or otherwise permit
     2   calculations to determine revenues on a daily basis. The attached supplemental
     3   declarations of Jason Baker and Eugene Lennon detail further that Mucky Duck
     4   maintains only its annual tax records from 2011 to the present (and monthly revenue
     5   tallies from 2010 to the present) and Gael Pub has only its annual tax records from
     6   2010 to 2019. As a result, Gael Pub and Mucky Duck cannot, as the NFL Defendants
     7   ask it to do, “[i]dentify the approximate amount of revenue generated on each day
     8   of the week” for the last eleven years or “the day of the week that your establishment
     9   generated the most revenue.” Moreover, monthly and annual data provide nothing
    10   relevant to whether the Commercial Plaintiffs’ establishments experience greater
    11   revenue on Sundays during football season compared to other days of the week. The
    12   burden associated with responding to the NFL Defendants’ Interrogatory No. 10 is
    13   insurmountable.
    14            Plaintiffs met and conferred with the NFL Defendants and explained all of
    15   this on Friday, May 13, 2022, consistent with the declarations previously submitted
    16   to the Court, and proposed two compromises in an effort to resolve this dispute: first,
    17   notwithstanding Plaintiffs’ continuing concerns about downstream discovery and
    18   relevance, the NFL Defendants could probe the highest-grossing day of the week in
    19   Commercial Plaintiffs’ future depositions (and, for that matter, ask questions about
    20   daily revenues), and Commercial Plaintiffs will answer to the best of their
    21   recollection. Second, Commercial Plaintiffs offered to amend their interrogatory
    22   responses, in light of the Court’s order, to reflect their best recollection of the
    23   highest-grossing day(s) of the week during the NFL season while noting their
    24   inability to answer with precision. To the extent that the NFL Defendants want to
    25   know the answer outside of the NFL season, Commercial Plaintiffs could also
    26   address that too in their substantive response (that is, e.g., what factors tended to
    27   drive business on different days of the week outside of the NFL season). 1
    28   1
             In the spirit of that compromise, the attached supplemental declarations of
                                                       2
                JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
                                     PLAINTIFFS TO RESPOND TO INTERROGATORY NO. 10
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     1         To Plaintiffs’ surprise, the NFL Defendants rejected this proposed resolution,
     2   instead insisting that the Court’s order requires document production of Commercial
     3   Plaintiffs’ financial records of any kind, regardless of whether it might enable an
     4   answer to the interrogatory at issue. This slippery slope, untethered to Interrogatory
     5   No. 10 (and the NFL Defendants’ suggested relevance for its interrogatory), is
     6   precisely what Commercial Plaintiffs feared the NFL Defendants intended by
     7   seeking downstream discovery in the first place: in effect, a license to rummage
     8   through Commercial Plaintiffs’ financial information of any sort unrelated to the
     9   NFL Defendants’ proposals about relevant-market analysis. See Joint Stipulation,
    10   ECF No. 466 at 9:15-10:12.
    11         Commercial Plaintiffs respectfully submit that the NFL Defendants
    12   misunderstand the Court’s May 9, 2022, order. This Court evaluated the possibility
    13   of limited downstream discovery, in the form of Interrogatory No. 10, on the basis
    14   of the NFL Defendants’ two relevance arguments. As to its bearing on class
    15   certification, the Court explained it “is highly skeptical of NFL Defendants’ desire
    16   to obtain the data for class certification purposes” in this “antitrust overcharge case
    17   that affects all class members.” Order at 2. As to its bearing on market definition,
    18   the NFL Defendants proposed that “[c]omparison of the amount of revenue earned
    19   on Sundays (when out-of-market NFL football games are shown on Sunday Ticket)
    20   versus other days of the week (when other entertainment or sports were available for
    21   customers on the establishments’ televisions) is relevant to determining whether
    22   other television programming is substitutable for live NFL telecasts.” And given that
    23   rationale, the Court “[could not] say that the requested data is irrelevant to market
    24   definition in determining whether other television programming is substitutable,” id.
    25   at 2, prompting it to evaluate burden, for which it needed more information,
    26   including “what, if any revenue data exists,” to “consider discoverability of the
    27   downstream data sought by Interrogatory No. 10 . . . .” and the possibility of a Rule
    28   Eugene Lennon and Jason Baker provide that information here.
                                              3
              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
                                   PLAINTIFFS TO RESPOND TO INTERROGATORY NO. 10
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     1   33(d) solution.
     2         The NFL Defendants’ attempt now, to convert an interrogatory dispute about
     3   daily revenues into an altogether different, and much larger, discovery effort aimed
     4   at Commercial Plaintiffs’ finances, exemplifies the downstream “fishing
     5   expeditions” that concerns courts in this circuit and elsewhere. See, e.g., In re
     6   Glumetza Antitrust Litig., No. 19CV05822WHARMI, 2020 WL 3498067, at *14
     7   (N.D. Cal. June 29, 2020) (collecting cases and emphasizing Hanover Shoe and
     8   Illinois Brick in rejecting discovery into downstream purchase and sales data); In re
     9   Plasma-Derivative Protein Therapies Antitrust Litig., No. 09 C 7666, 2012 WL
    10   1533221, at *3 (N.D. Ill. Apr. 27, 2012) (likewise noting “the long-held precedent
    11   of proscribing downstream discovery in antitrust litigation”); Meijer Inc. v. Abbott
    12   Laboratories, 251 F.R.D 431, 434 (N.D. Cal. 2008) (noting the “potential deterrent
    13   effect” of permitting fishing expeditions into plaintiffs’ downstream data); In re
    14   Auto. Refinishing Paint Antitrust Litig., No. MDL 1426, 2006 WL 1479819, at *8
    15   (E.D. Pa. May 26, 2006) (reaffirming the “the long-held practice of proscribing
    16   discovery of downstream data and financial information”). The NFL Defendants’
    17   new project, unrelated to market definition, serves as a reminder of the Supreme
    18   Court’s warning that diversions into downstream inquiries have the potential to
    19   “substantially reduce[]” the effectiveness of antitrust actions (and their desired
    20   deterrent effect). See Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392 U.S. 481,
    21   493-94 (1968).
    22         Plaintiffs acknowledge that this Court has determined that “the requested
    23   data” may be relevant to market definition “in determining whether other television
    24   programming is substitutable” Order, ECF No. 472 at 2 (emphasis added). But the
    25   requested data do not exist, which is why Plaintiffs have offered to amend their
    26   interrogatory responses (and answer deposition questions) to reflect their best
    27   recollections. Rule 33(d)(1), which this Court noted might yield a solution, provides
    28   the “option to produce business records” only “if the answer to an interrogatory may
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
                                   PLAINTIFFS TO RESPOND TO INTERROGATORY NO. 10
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     1   be determined by examining, auditing, compiling, abstracting, or summarizing a
     2   party's business records (including electronically stored information).” Here, there
     3   are no business records that might yield an answer to the NFL Defendants’
     4   Interrogatory No. 10.
     5         In any event, even if the particular data sought by Interrogatory No. 10 existed,
     6   it would, at most, tell the story of customer experiences at two commercial
     7   establishments among thousands in the class, a limited snapshot of any
     8   “substitutability.” See In re: Pool Products Distribution Market Antitrust Litig.,
     9   Case No. 2:12-md-02328-SSV-JCW, Pretrial Order No. 15 (Dkt. No. 174) (E.D. La.
    10   Nov. 6, 2012) (rejecting downstream discovery as not germane to market definition
    11   purposes and noting the class representatives “are only seven of out of hundreds of
    12   Pool Products dealers”).
    13        *      *     *        *    *      *     *      *      *      *     *      *
    14         In the face of this detailed information and Commercial Plaintiffs’ offer of
    15   compromise, the NFL Defendants pivot instead to requests for production about
    16   broader financial information, an altogether different front in their efforts at
    17   downstream discovery that has never been briefed before this Court and is, as the
    18   NFL Defendants appear to concede, not “the subject of the present dispute.” The
    19   NFL Defendants largely abandon their earlier relevance arguments about
    20   substitutability—and Interrogatory No. 10’s focus on daily information—in
    21   questioning the burden of producing aggregate financial data that cannot answer the
    22   question at hand. 2 Plaintiffs respectfully submit that the NFL cannot convert their
    23   motion to compel a particular interrogatory response into a motion to compel
    24   differing document productions outside of the process mandated by the Local Rules.
    25   Order at 3 (emphasizing adherence to Local Rules 37-2.2 and 37-2.3). This is all the
    26
         Using aggregate revenue information as “a foundation to probe the extent of
         2
    27 daily revenue information,” as the NFL Defendants now propose, is a far cry from
       the actual Interrogatory No. 10 and camouflage for insisting now on all revenue
    28 information, notwithstanding the parties’ previous negotiations on this very issue.
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
                                   PLAINTIFFS TO RESPOND TO INTERROGATORY NO. 10
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     1   more true given the NFL Defendants’ mistaken views of a complex negotiation and
     2   meet-and-confer process that spanned six months and included numerous
     3   agreements and compromises that have nothing to do with the present dispute.
     4   Commercial Plaintiffs never agreed to produce all downstream financial data, as the
     5   NFL Defendants’ own exhibits demonstrate. On the contrary, Commercial Plaintiffs
     6   objected to the relevance of downstream requests, Ex. B. (“Commercial Plaintiffs
     7   further object to this Request because it calls for information and documents that are
     8   not relevant to claims or defenses in this action”); wrote a letter specifically citing
     9   objections to burden, relevance, and proportionality concerning the production of
    10   financial documents, see Mirzadeh Decl., Ex. 1 (October 21, 2021 Letter from Scott
    11   Martin to Roxana Guidero); and, met and conferred with the NFL Defendants and
    12   worked out a middle ground: “As specifically discussed with respect to Requests
    13   seeking financial information (tax filings, register receipts, etc.) of the Commercial
    14   Plaintiffs, and without waiver of objections,” Commercial Plaintiffs merely
    15   “agree[d] to provide a year-by-year summary of profits/losses,” Ex. C, which Gael
    16   Pub has completed and Mucky Duck will provide to the NFL Defendants shortly
    17   (candidly, all parties seem to have forgotten about that particular outstanding task
    18   amid dozens of concurrent discovery efforts). NFL Defendants are merely
    19   attempting to re-open previous negotiations and resolution of downstream
    20   objections.
    21         The NFL Defendants also mischaracterize the parties’ meet and confer and
    22   attempts to reach resolution. Plaintiffs engaged meaningfully with the question of
    23   whether any revenue data exists that might answer Interrogatory No. 10 (and
    24   associated burden)—and explained there is none, only aggregate information at the
    25   annual and monthly level unresponsive to Interrogatory No. 10. Despite an hour-
    26   long conversation; Plaintiffs’ encouragement of resolution and compromise,
    27   especially given the Court’s admonition against bickering (Order at 3); and detailed
    28   additional information Plaintiffs provided the very next business day, the NFL
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
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     1   Defendants are still not satisfied with the Commercial Plaintiffs’ answers about their
     2   ability to answer Interrogatory No. 10.       But there can be no more concrete
     3   explanation of Commercial Plaintiffs’ inability to respond to Interrogatory No. 10
     4   as written.
     5         Commercial Plaintiffs also detailed their compromise proposal above, which
     6   would enable at least a partial response to the interrogatory. In doing so, Plaintiffs
     7   flagged their continuing concerns about downstream discovery but recognized too
     8   that the Court “cannot say that the requested data is irrelevant to market definition
     9   in determining whether other television programming is substitutable.” Order at 2
    10   (emphasis added). The NFL Defendants now scoff at this compromise, but they
    11   cannot explain how Commercial Plaintiffs could ever provide “information about
    12   the extent of the disparity in revenue generated on the different days of the week,
    13   both during and outside the NFL regular season” or the “impact of the seasons of
    14   other sports leagues on Commercial Plaintiffs’ revenue.” The NFL Defendants ask
    15   for the impossible.     Notably, too, the NFL Defendants never budged toward
    16   compromise or suggested a solution, instead now demanding all revenue data in any
    17   form (however unresponsive to Interrogatory No. 10 and notwithstanding the
    18   negotiations on production of such information) and a complete substantive response
    19   to Interrogatory No. 10—however impossible—as they do again here.
    20         To the extent that the NFL Defendants rehash the parties’ differing
    21   understandings of the Court’s order, Plaintiffs have addressed that disagreement
    22   above. Plaintiffs have investigated at length the option of responding to Interrogatory
    23   No. 10 via Rule 33(d) and determined that it is not feasible.
    24         B.       The NFL Defendants’ Position
    25         More than a year ago, the NFL Defendants served two document requests on
    26   Commercial Plaintiffs seeking relevant financial information, including revenue
    27   records.      See NFL Defendants’ First Set of Requests for the Production of
    28   Documents, Request Nos. 19–20. [Ex. A.]. Commercial Plaintiffs did not make any
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
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     1   downstream discovery objections; rather, they agreed to search for and produce
     2   documents responsive to those requests. See Commercial Plaintiffs’ Responses to
     3   NFL Defendants First Set of Requests for the Production of Documents, Response
     4   to Request No. 19 [Ex. B] (“Commercial Plaintiffs will produce documents
     5   responsive to this Request to the extent that they exist, have not previously been
     6   produced, and are located during a reasonable search for documents.”). However,
     7   Commercial Plaintiffs later represented (inaccurately, it seems) that they did not
     8   possess much, if any, responsive revenue documents. 3 Rather than challenge that
     9   representation, despite the NFL Defendants’ skepticism—skepticism that this Court
    10   also shares, Order at 3—the NFL Defendants served Interrogatory No. 10, which
    11   sought to have Plaintiffs “[i]dentify the approximate amount of revenue generated
    12   on each day of the week and identify the day of the week that your establishment
    13   generated the most revenue” in a written response. (Dkt. 462-3, p. 8). Commercial
    14   Plaintiffs’ refusal to respond to that Interrogatory in a meaningful way is the subject
    15   of the present dispute.
    16         Consistent with the Court’s May 9, 2022 Order, the parties met and conferred
    17   for more than an hour on May 13, 2022.             During that conference, the NFL
    18   Defendants received confirmation that, despite previous representations made by
    19   Commercial Plaintiffs on October 29, 2021 that they had produced “any responsive,
    20   non-privileged documents that were located” in response to the NFL Defendants’
    21   3
            Commercial Plaintiffs agreed to produce a year-by-year summary of their
         profits/losses during the class period. Gael Pub produced a single one-page
    22   document that lists what appears to be its total profit/loss amount per year between
         2011 and 2019. The document is divided into two columns and simply includes the
    23   year on the left-hand column and the total profit/loss value in the right-hand column.
         Mucky Duck did not produce any responsive financial information. Such a limited
    24   production was predicated on the NFL Defendants’ understanding that there were
         no additional responsive documents. Mucky Duck also claims it “had no reason to”
    25   and “had no interest in” maintaining “financial records by daily revenue,” see Baker
         Decl. ¶ 9. Whether or not that is true, given that Mucky Duck is an ongoing business
    26   and has been aware of the NFL Defendants’ document requests since March 31,
         2021, it would have been incumbent on Mucky Duck to preserve this information
    27   from that date to present. Moreover, given that both Commercial Plaintiffs are
         litigants that filed suit in a complex antitrust litigation, the expectation would be that
    28   they would preserve such financial documents given their probable relevance.
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
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     1   document requests, see Email from S. Martin to R. Guidero, dated Oct. 29, 2021
     2   [Ex. C.], Commercial Plaintiffs actually do possess revenue information responsive
     3   to the NFL Defendants’ multiple discovery requests. 4 In fact, the NFL Defendants
     4   have now further learned through this new declaration of Eugene Lennon that Gael
     5   Pub kept “weekly or monthly [financial tally records] for accounting purposes.”
     6   Lennon Decl. ¶ 9. Whatever remains of these records, as well as the tax records
     7   identified in Mr. Lennon’s declaration, id. ¶ 7, are relevant not only to Interrogatory
     8   No. 10, but also to the NFL Defendants’ prior discovery requests that may have
     9   obviated the need for Interrogatory No. 10.
    10         Nevertheless, Commercial Plaintiffs took (and continue to take) the position
    11   that they were (and are) not required to produce these records, citing continued
    12   concerns about downstream discovery. However, this Court has already largely
    13   resolved those substantive objections. See Order at 2 (noting that the Court made
    14   clear that it “cannot say that the requested data is irrelevant to market definition in
    15   determining whether other television programming is substitutable” and that it “will
    16   consider discoverability of the downstream data sought by Interrogatory No. 10 if
    17   the burden is not undue.”). In fact, this Court has explicitly demanded an explanation
    18   as to “why [Mucky Duck] cannot produce whatever revenue data is in its custody,
    19   control, or possession.” See Order at 4.
    20

    21
         4
           While the present dispute over Commercial Plaintiffs’ revenue data arose in the
         context of Interrogatory No. 10, this dispute in fact implicates long sought-after
    22   revenue data. The Interrogatory dispute is therefore inextricably linked to
         Commercial Plaintiffs’ misrepresentation and failure to produce documents
    23   responsive to the NFL Defendants’ existing document requests. It is for this reason
         that no meet and confer specifically addressing the revenue documents that
    24   Commercial Plaintiffs acknowledge they possess is necessary. The NFL Defendants
         fulfilled its obligation under Local Rule 37 when it initially reached out to Plaintiffs
    25   to discuss their deficient responses and objections to the NFL Defendants First Set
         of Requests for Production of Documents. Moreover, any meet and confer would
    26   be futile because Commercial Plaintiffs have fervently maintained that they will not
         produce revenue records in their possession. See Gayler v. High Desert State Prison,
    27   2020 WL 1149894, at * 1 n.2 (D. Nev. Mar. 9, 2020) (“Futility is a recognized basis,
         under some circumstances, to excuse a failure to meet and confer.”).
    28
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              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
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     1         During the parties’ conference, when pressed, Commercial Plaintiffs refused
     2   to explain with any detail what type of revenue records are in their possession, the
     3   time period covered, and why those records had not previously been produced. They
     4   now improperly claim in this Joint Statement that they did elaborate on the extent of
     5   the records in their possession. This is incorrect. Commercial Plaintiffs merely
     6   acknowledged that “piecemeal” revenue records exist, in “aggregated form,”
     7   without explaining what that meant. Because Commercial Plaintiffs were not
     8   willing to provide meaningful context about the revenue information in their
     9   possession, the parties were unable to engage in a worthwhile discussion about the
    10   burdens involved in production of that information. Had Commercial Plaintiffs
    11   provided the necessary insight into the revenue records in their possession, the NFL
    12   Defendants would have been better placed to engage with Commercial Plaintiffs’
    13   unsupported claims that responding to Interrogatory No. 10 is unduly burdensome,
    14   as ordered by this Court.
    15         It bears mentioning that the NFL Defendants continue to be skeptical of
    16   Mucky Duck’s claim that they are not in possession of records that would detail daily
    17   revenue, especially in light of the fact that the bar is still in operation and needs to
    18   maintain inventory, pay employees, protect itself against misappropriation of funds,
    19   etc. Nonetheless, even the weekly, monthly, and annual records that Mucky Duck
    20   and Gael Pub now acknowledge they possess, are relevant to both Interrogatory No.
    21   10 and market definition more generally.
    22         First, with regard to Interrogatory No. 10, the NFL Defendants would use
    23   Commercial Plaintiffs’ existing revenue records, in a deposition or otherwise, as a
    24   foundation to probe the extent of daily revenue information. Put another way, if
    25   NFL Defendants know the extent of Commercial Plaintiffs’ weekly or monthly
    26   revenue, they can use that to question the employees of the Commercial Plaintiffs as
    27   to what percentage of that revenue was generally allotted on each day of the week,
    28   giving the NFL Defendants a sense as to the comparative amounts incurred when
                                                   10
              JOINT STATUS REPORT ON THE NFL DEFENDANTS’ MOTION TO COMPEL COMMERCIAL
                                   PLAINTIFFS TO RESPOND TO INTERROGATORY NO. 10
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     1   live NFL games are broadcast and when they are not. Such deposition testimony
     2   would be far more valuable than Plaintiffs’ suggestion that the NFL Defendants
     3   blindly asking deposition questions targeted at revenue without any responsive
     4   documents in their possession. Second, the data is independently relevant to market
     5   definition, as it allows the NFL Defendants to evaluate Commercial Plaintiffs’
     6   comparative financial success at a weekly, monthly, and annual level during and
     7   outside of the NFL regular season, which is relevant to the substitutability of live
     8   NFL telecasts for market definition purposes.
     9           Rather than provide the relevant revenue documentation that the NFL
    10   Defendants have long sought, Commercial Plaintiffs instead offered only to answer
    11   a pared-down version of Interrogatory No. 10 at the May 13 conference.
    12   Specifically, Commercial Plaintiffs offered to address only whether, during the NFL
    13   regular season, Commercial Plaintiffs generated the most revenue on Sundays—a
    14   question they now voluntarily answer in their respective declarations. In making
    15   this offer, however, Commercial Plaintiffs were clear that any such response would
    16   not include the production of the revenue records in their custody, possession, or
    17   control, thus insulating them from further meaningful inquiry at a deposition. This
    18   so-called compromise fell far short of what the Interrogatory calls for and what this
    19   Court ordered of Commercial Plaintiffs, i.e., to “produce their revenue records ‘as
    20   is’ for the relevant time period, supported by declarations from the partner/proprietor
    21   that they have produced all revenue records in their control, custody or possession.”
    22   5
             Order at 4.
    23           Further, any claim by Commercial Plaintiffs that it would be unduly
    24   burdensome to produce records presently in their possession strains credulity. Those
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         For example, Plaintiffs’ compromise offer would not provide the NFL Defendants
         5
    26 with information about the extent of the disparity in revenue generated on the
       different days of the week, both during and outside the NFL season. It also would
    27 not allow the NFL Defendants to understand the impact of the seasons of other sports
       leagues on Commercial Plaintiffs’ revenue. All of this information is relevant to
    28 market definition.
                                               11
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     1   claims are further undermined by the minimal discovery provided to date by
     2   Commercial Plaintiffs, particularly compared to the productions made by the NFL
     3   Defendants. 6
     4         In the end, Commercial Plaintiffs have frustrated the discovery process and
     5   repeatedly sought to inhibit the disclosure of relevant information sought by the NFL
     6   Defendants. This Court should instruct Commercial Plaintiffs to comply with its
     7   existing Court Order and promptly produce the revenue records in their possession
     8   and to otherwise provide a substantive response to Interrogatory No. 10 to the extent
     9   possible based on the records in their possession.
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         Dated: May 17, 2022
    12                                     By: /s/ Beth A. Wilkinson
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    27  Commercial Plaintiffs have, to date, produced only 177 documents consisting of
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       332 pages in this litigation, whereas the NFL Defendants have produced 135,744
    28 documents consisting of 1,229,567 pages.
                                                12
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     1   All signatories listed, and on whose behalf the filing is submitted, concur in the
         filing’s content and have authorized the filing.
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